                                                                                                     Electronically Filed - St Louis County - December 08, 2017 - 04:02 PM
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                    IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                               STATE OF MISSOURI

ROGER W. WALLACH, individually, and )
on behalf of all others similarly situated, )
                                            )
       Plaintiff,                           )
                                            )         Case No.:
v.                                          )         Division:
                                            )
LOANME, INC.,                               )         JURY TRIAL DEMANDED
                                            )
Serve registered agent:                     )
Monarch Entity Services, LLC                )
101 Convention Center Drive, Suite 838      )
Las Vegas, Nevada 89109                     )
                                            )
       Defendant.                           )

                          PETITION FOR CLASS ACTION RELIEF

          COMES NOW Plaintiff Roger W. Wallach, individually, and on behalf of all others

similarly situated, and for his Petition for Class Action Relief against Defendant LoanMe, Inc.

states:

                                 Parties, Jurisdiction and Venue

          1.    Roger W. Wallach (“Wallach”) is an individual who resides in St. Louis County,

Missouri.

          2.    Wallach brings this action on behalf of himself and all others similarly situated.

          3.    LoanMe, Inc. (“LoanMe”) is a Nevada corporation in good standing.

          4.    LoanMe provides unsecured loans, including personal and small business loans, to

individuals and businesses.

          5.    LoanMe is licensed in the State of Missouri as a Consumer Installment Lender

Company.




                                                                                          Exhibit
                                                                                            A
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         6.    Upon information and belief, LoanMe offers and provides loans to Missouri

consumers and businesses.

         7.    LoanMe’s website identifies the loan products available to Missouri consumers.

These products include loans ranging from $2,600.00 to $10,000.00 with annual interest rates

ranging from 99% and 139%.

         8.    This Court has personal jurisdiction over LoanMe because it has solicited business

in the State of Missouri, conducts business in the State of Missouri, has committed the acts

described below in the State of Missouri and otherwise has sufficient minimum contacts with the

State of Missouri, and such contacts are continuous and systematic.

                                          Background

         9.    LoanMe markets its loan products, in part, through placing automated telephone

calls to prospective customers’ cell phones.

         10.   Wallach is the owner of a cell phone and pays the bill for his cell phone account.

His cell phone number is 314-XXX-2900.

         11.   Wallach did not provide his cell phone number to LoanMe.

         12.   Wallach had no prior business relationship with LoanMe.

         13.   Wallach did not grant LoanMe prior express written consent to be called on his cell

phone.

         14.   On December 4, 2017, Wallach received a phone call from LoanMe on his wireless

cellular phone in St. Louis County, Missouri.

         15.   Upon answering his cell phone, Wallach heard a brief pause, and was then

connected to a LoanMe representative acting on LoanMe’s behalf.

         16.   The LoanMe representative stated that LoanMe was interested in providing



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Wallach with a business loan.

       17.     LoanMe’s conduct injured Wallach and the putative class members because their

privacy has been violated, and they were subject to annoying and harassing phone calls that

constituted a nuisance. LoanMe’s phone calls to wireless numbers intruded upon the rights of

Wallach and the putative class members to be free from invasion of their interest in seclusion.

       18.     LoanMe’s conduct injured Wallach and the putative class members because they

wasted time addressing or otherwise responding to the unwanted calls to their wireless numbers.

       19.     LoanMe’s calls to wireless numbers caused economic harm to class members by

requiring them to pay their cell phone providers either for each phone call or incurring a usage

allocation deduction to their cell phone plan.

       20.     On information and belief, LoanMe placed phone calls en masse to wireless cellular

numbers for the purpose of selling its loan products. LoanMe placed those calls to Wallach and

members of the putative class without first obtaining their prior express written consent.

         Count I - Violation of the Telephone Consumer Protection Act ("TCPA"),
                                    47 U.S.C. § 227 et seq.

       21.     The TCPA states, in part:

        It shall be unlawful . . . (A) to make any call (other than a call made for emergency
        purposes or made with the prior express consent of the called party) using any
        automatic telephone dialing system or an artificial or prerecorded voice . . . (iii)
        to any telephone number assigned to a . . . cellular telephone . . . .

47 U.S.C. § 227(b)(1).

       22.     The TCPA defines an “automatic telephone dialing system” as “equipment which

has the capacity . . . to store or produce numbers to be called, using a sequential number generator;

and to dial such numbers.” 47 U.S.C. § 227(a)(1).

       23.     The TCPA defines a "telephone solicitation" as a "call or message for the purpose

of encouraging the purchase of goods, or services which is transmitted to any person." 47 U.S.C.
                                                 3
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§ 227(a)(4).

       24.       The Federal Communications Commission's regulations implementing the TCPA

provide that telephone solicitations cannot be made to a recipient without the recipient's "prior

express written consent." See FCC 12-21, CG Docket 02-278 (effective October 16, 2013); 47

C.F.R. § 64.1200(a)(2)

       25.       The term "prior express written consent" as defined by the Code of Federal

Regulations means "an agreement, in writing, bearing the signature of the person called that clearly

authorizes the seller to deliver or cause to be delivered to the person called advertisements or

telemarketing messages using an automatic telephone dialing system or an artificial or prerecorded

voice, and the telephone number to which the signatory authorizes such advertisements or

telemarketing messages to be delivered." 47 C.F.R. § 64.1200(f)(8)(i).

       26.       The TCPA provides for a private right of action and statutory damages of at least

$500, and up to $1,500.00 per violation. 47 U.S.C. § 227(b)(3).

       27.       Pursuant to Missouri Rule of Civil Procedure 52.08, Wallach brings this lawsuit as

a class action on behalf of himself and all others similarly situated. This action satisfies the

requirements of numerosity, commonality, typicality, and adequacy of representation.

       28.       The proposed class which Wallach seeks to represent is defined as follows:

               All persons in the United States who, from December 8, 2013 to the present,
               who received calls on their cell phone from LoanMe or someone acting on its
               behalf and did not provide LoanMe their prior express written consent to
               receive such calls.
       29.       On information and belief, LoanMe used an automatic telephone dialing system to

make the phone call to Wallach’s cell phone and to the cell phones of the putative class members.

The device LoanMe used to place the telephone calls to cellular numbers had the capacity to store




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or produce telephone numbers to be called using a random or sequential number generator and to

dial such numbers.

        30.     On information and belief, LoanMe’s dialing system stored Wallach’s and the

putative class members' cell phone numbers. The numbers were dialed without significant human

intervention.

        31.     On information and belief, LoanMe used the Aspect Ensemble Call Center

Software (“Aspect”) to place calls to Wallach and the putative class members.

        32.     The Aspect website states that the Call Center capabilities include an “Auto Dialer.”

The Aspect website describes the Auto Dialer as providing “automated dialing options including .

. . predictive dialing.”

        33.     The Aspect website states that the Call Center capabilities include a “Predictive

Dialer.” The Aspect website describes the Predictive Dialer as providing “smart decisions on

whom to contact, as well as when and how . . . and campaign management optimization across

single or multiple predictive dialers.”

        34.     On information and belief, LoanMe currently employs a “Dialer Administrator”

who oversees the “daily production and performance of the Dialer system.” The Dialer

Administrator also monitors LoanMe’s “Predictive Dialer” system.

        35.     On information and belief, LoanMe made phone calls to the cell phones of Wallach

and the putative class members without the recipients' prior express written consent.

        36.     On information and belief, LoanMe placed telephone calls en masse to hundred if

not thousands of wireless telephone numbers using a computerized automatic telephone dialing

system.

        37.     By making calls to the cell phones of Wallach and the putative class members



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without first obtaining their prior express written consent, LoanMe violated the express provisions

of the TCPA, including, but not limited to, 47 U.S.C. § 227(b)(l).

       38.     LoanMe knew or should have known that the putative class members did not

provide their prior express written consent to receive calls on their cellular phones.

       39.     Wallach and the putative class members are entitled to damages of $500.00 per call

made by LoanMe and up to $1,500.00 per call if the Court finds that LoanMe willfully violated

the TCPA.

       40.     On information and belief, there are thousands of persons in the proposed class, and

the class is so geographically diverse that joinder of all members is impracticable.

       41.     Wallach’s claims are typical of the class he seeks to represent. Wallach and the

putative class members were called by LoanMe through an automatic telephone dialing system

and did not provide prior express written consent to be called on their cellular phones. Wallach’s

claims and the claims of the putative class members are based on the same legal theories and arise

from the same unlawful conduct thereby resulting in the same injury to Wallach and the putative

class members.

       42.     There are questions of law and fact common to the class. Common questions

include, but are not limited to:

       a.      Whether LoanMe made phone calls to the cell phones of the members of the

putative class without obtaining the recipients’ prior express written consent;

       b.      Whether LoanMe made phone calls to the cell phones of members of the proposed

class using an automatic telephone dialing system;

       c.      Whether the conduct of LoanMe violates 47 U.S.C. § 227(b)(l)(A);

       d.      Whether the conduct of LoanMe violates the rules and regulations implementing



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the TCPA; and,

         e.    Whether Wallach and the members of the proposed class are entitled to increased

damages based on the willfulness of LoanMe’s conduct.

         43.   Wallach will fairly and adequately represent the putative class members. Wallach

has retained counsel experienced in the prosecution of class actions. Wallach is committed to

vigorously prosecuting the claims presented in this petition. Neither Wallach nor Wallach’s

counsel have any interests adverse or in conflict with the absent class members.

         44.   The questions of law and fact common to the members of the proposed class

predominate over any questions of fact affecting any individual member of the proposed class.

         45.   A class action is superior to other methods for the fair and efficient adjudication of

this controversy. Because the damages suffered by the individual class members may be relatively

small compared to the expense and burden of litigation, it is impracticable and economically

infeasible for class members to seek redress individually.


                                          Demand for Judgment

         WHEREFORE Plaintiff Roger W. Wallach, individually, and on behalf of all others

similarly situated, requests the Court grant the following relief:

         a.    Enter an order against Defendant LoanMe, Inc., pursuant to Missouri Rule of Civil

Procedure 52.08, certifying this action as a class action and appointing Plaintiff Roger W. Wallach

as the class representative;

         b.    Enter an order appointing Butsch Roberts & Associates LLC as counsel for the

class;

         c.    Enter judgment in favor of Wallach and the putative class for all damages available

under the TCPA, including statutory damages of $500 per violation, or up to $1,500 per violation


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if LoanMe willfully violated the TCPA;

       d.      Award Wallach and the class all expenses of this action, and requiring defendant to

pay the costs and expenses of class notice and claims administration; and,

       e.      Award Wallach and the class such further and other relief the Court deems just and

appropriate.



                                             Jury Trial Demanded

                                             BUTSCH ROBERTS & ASSOCIATES LLC

                                             By: /s/ Christopher E. Roberts
                                             David T. Butsch #37539
                                             Christopher E. Roberts #61895
                                             231 South Bemiston Ave., Suite 260
                                             Clayton, MO 63105
                                             (314) 863-5700 (telephone)
                                             (314) 863-5711 (fax)
                                             dbutsch@butschroberts.com
                                             croberts@butschroberts.com

                                             Attorneys for Plaintiff Roger W. Wallach




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                   IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                              STATE OF MISSOURI

ROGER W. WALLACH, individually, and )
on behalf of all others similarly situated, )
                                            )
       Plaintiff,                           )
                                            )      Case No.:
v.                                          )      Division:
                                            )
LOANME, INC.,                               )
                                            )
Serve registered agent:                     )
Monarch Entity Services, LLC                )
101 Convention Center Drive, Suite 838      )
Las Vegas, Nevada 89109                     )
                                            )
       Defendant.                           )

                 MOTION TO APPOINT SPECIAL PROCESS SERVER

       COMES NOW Plaintiff Roger W. Wallach, and through his undersigned counsel, requests

that this Court appoint Martin Druckman, 1736 E. Charleston Blvd., Suite 333, Las Vegas, Nevada

89104 as special process server in the above-captioned matter for the purpose of serving a

Summons and Petition on Defendant LoanMe, Inc.


                                            BUTSCH ROBERTS & ASSOCIATES LLC

                                         By: /s/ Christopher E. Roberts
                                           David T. Butsch #37539
     Appointed As Requested                Christopher E. Roberts #61895
                                           231 South Bemiston Ave., Suite 260
     /s/ LaKrisha Gardner                  Clayton, MO 63105
     Deputy Clerk
                                           (314) 863-5700 (telephone)
     Date: 12/13/2017                      (314) 863-5711 (fax)
                                           butsch@butschroberts.com
                                           roberts@butschroberts.com

                                            Attorneys for Plaintiff
            Case: 4:18-cv-00296-JAR Doc. #: 1-1 Filed: 02/21/18 Page: 10 of 25 PageID #: 14

               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 17SL-CC04519
 JOHN D WARNER JR
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address:
 ROGER W WALLACH                                                CHRISTOPHER ELISHA ROBERTS
                                                                SUITE 200
                                                                231 SOUTH BEMISTON AVE.
                                                         vs.    CLAYTON, MO 63105
 Defendant/Respondent:                                          Court Address:
 LOANME, INC.                                                   ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
                                                                CLAYTON, MO 63105
 CC Other Tort                                                                                                                          (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                         (Except Attachment Action)
    The State of Missouri to: LOANME, INC.
                              Alias:
  MONARCH ENTITY SERVICES LLC
  101 CONVENTION CENTER DR, SUITE 838
  LAS VEGAS, NV 89109
     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                               notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least three
                               business days in advance of the court proceeding.
    ST. LOUIS COUNTY
                                   13-DEC-2017                                            ____________________________________________________
                                   Date                                                                              Clerk
                                 Further Information:
                                 LNG
                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                    _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                    _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                 Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                 I am: (check one)    the clerk of the court of which affiant is an officer.
                                                      the judge of the court of which affiant is an officer.
                                                      authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                       (use for out-of-state officer)
                                                      authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.

OSCA (7-04) SM60 For Court Use Only: Document ID# 17-SMOS-1218          1         (17SL-CC04519)                                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                          506.500, 506.510 RSMo
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                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 17-SMOS-1218    2        (17SL-CC04519)                            Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                             506.500, 506.510 RSMo
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                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



 Purpose of Notice

    As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
 However, most lawsuits are settled by the parties before a trial takes place. This is often true even
 when the parties initially believe that settlement is not possible. A settlement reduces the expense and
 inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
 their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used
 early in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services
 would be helpful in your case.

 Your Rights and Obligations in Court Are Not Affected By This Notice

     You may decide to use an alternative dispute resolution procedure if the other parties to your case
 agree to do so. In some circumstances, a judge of this court may refer your case to an alternative
 dispute resolution procedure described below. These procedures are not a substitute for the services
 of a lawyer and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you
 have obligations and deadlines which must be followed whether you use an alternative dispute
 resolution procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A
 RESPONSE ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU
 CHOOSE TO PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

 Alternative Dispute Resolution Procedures

    There are several procedures designed to help parties settle lawsuits. Most of these procedures
 involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
 resolution and is not partial to any party. The services are provided by individuals and organizations
 who may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures
 are:

     (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person
 or a panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not
 binding and simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically
 less formal than a trial, is usually shorter, and may be conducted in a private setting at a time mutually
 agreeable to the parties. The parties, by agreement, may select the arbitrator(s) and determine the
 rules under which the arbitration will be conducted.

    (2) Mediation: A process in which a neutral third party facilitates communication between the
 parties to promote settlement. An effective mediator may offer solutions that have not been considered
 by the parties or their lawyers. A mediator may not impose his or her own judgment on the issues for
 that of the parties.
 CCADM73
OSCA (7-04) SM60 For Court Use Only: Document ID# 17-SMOS-1218   3   (17SL-CC04519)      Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
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   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




CCADM73

OSCA (7-04) SM60 For Court Use Only: Document ID# 17-SMOS-1218   4   (17SL-CC04519)      Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
Case: 4:18-cv-00296-JAR Doc. #: 1-1 Filed: 02/21/18 Page: 14 of 25 PageID #: 18




                       IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                                  STATE OF MISSOURI

  ROGER W. WALLACH, individually, and
  on behalf of all others similarly situated,

         Plaintiff,
                                                        Cause No. I7SL-CC04519
  I,,

                                                        Div. 15
  LOANME, INC.,

         Defendant.

                                   ENTRY OF APPEARANCE

         Come now David T. Butsch and Butsch Roberts & Associates LLC and hereby enter their

  appearance on behalf of Plaintiff Roger W. Wallach.


                                                BUTSCH ROBERTS & ASSOCIATES LLC


                                           By:jI David T. Butsch
                                                David T. Butsch #37539
                                                231 South Bemiston Ave., Suite 260
                                                Clayton, MO 63105
                                                (3 14) 863-5700 (telephone)
                                                (314) 863-5711 (fax)
                                                Butsch@ButschRoberts.com

                                                Attorneys for Plaintiff Roger W. Wallach


                                            Certificate of Service
        I hereby certify that on December 28, 2017, a copy ofthe foregoing was sent by first class
  U.S. Mail, postage pre-paid, to the following: LoanMe, Inc., e/o Monarch Entity Services, LLC,
  101 Convention CenterDrive, Suite 838, Las Vegas, Nevada 89109.

                                                 Is/ David T. Butsch
Case: 4:18-cv-00296-JAR Doc. #: 1-1 Filed: 02/21/18 Page: 15 of 25 PageID #: 19




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Case: 4:18-cv-00296-JAR Doc. #: 1-1 Filed: 02/21/18 Page: 16 of 25 PageID #: 20
                                                                                                    Electronically Filed - St Louis County - January 12, 2018 - 01:08 PM
Case: 4:18-cv-00296-JAR Doc. #: 1-1 Filed: 02/21/18 Page: 17 of 25 PageID #: 21



                      IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                                 STATE OF MISSOURI

ROGER WALLACH, individually, and             )
on behalf of all others similarly situated   )
                                             )
       Plaintiff,                            )      Cause No:    17SL-CC04519
                                             )      Division No: 15
v.                                           )
                                             )
LOANME, INC.                                 )
                                             )
       Defendant.                            )

                    MOTION FOR ISSUANCE OF ALIAS SUMMONS FOR
                             DEFENDANT LOANME, INC.

       COMES NOW Plaintiff Roger Wallach by his undersigned counsel, and hereby requests

that this Court issue an alias summons for Defendant LoanMe Inc., to be served at1900 South State

College Blvd., Ste. 300 Anaheim, CA 92806.


                                                    BUTSCH ROBERTS & ASSOCIATES LLC


                                                 By: /s/ Christopher E. Roberts
                                                   David T. Butsch #37539
                                                   Christopher E. Roberts #61895
                                                   231 South Bemiston Ave., Suite 260
                                                   Clayton, MO 63105
                                                   (314) 863-5700 (telephone)
                                                   (314) 863-5711 (fax)
                                                   Butsch@butschroberts.com
                                                   Roberts@butschroberts.com

                                                    Attorney for Roger Wallach
                                                                                                  Electronically Filed - St Louis County - January 12, 2018 - 01:08 PM
Case: 4:18-cv-00296-JAR Doc. #: 1-1 Filed: 02/21/18 Page: 18 of 25 PageID #: 22




                      IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                                 STATE OF MISSOURI

ROGER WALLACH, individually, and             )
on behalf of all others similarly situated   )
                                             )
       Plaintiff,                            )     Cause No:    17SL-CC04519
                                             )     Division No: 15
v.                                           )
                                             )
LOANME, INC.                                 )
                                             )
       Defendant.                            )

                    MOTION TO APPOINT SPECIAL PROCESS SERVER

       COMES NOW Plaintiff Roger Wallach by his undersigned counsel, and hereby requests

that this Court issue an alias summons for Defendant LoanMe Inc., to be served by at 1900 South

State College Blvd., Ste. 300 Anaheim, CA 92806. Plaintiff requests that Richard Steiber of Cal

Process Servers, located at 14271 Jeffrey Road, Suite 308, Irvine, CA 92620 serve the summons

and petition.


                                                   BUTSCH ROBERTS & ASSOCIATES LLC


                                                 By: /s/ Christopher E. Roberts
                                                   David T. Butsch #37539
                                                   Christopher E. Roberts #61895
                                                   231 South Bemiston Ave., Suite 260
                                                   Clayton, MO 63105
                                                   (314) 863-5700 (telephone)
                                                   (314) 863-5711 (fax)
                                                   Butsch@butschroberts.com
                                                   Roberts@butschroberts.com

                                                   Attorney for Roger Wallach
            Case: 4:18-cv-00296-JAR Doc. #: 1-1 Filed: 02/21/18 Page: 19 of 25 PageID #: 23

               IN THE 21ST JUDICIAL CIRCUIT COURT, ST. LOUIS COUNTY, MISSOURI

 Judge or Division:                                             Case Number: 17SL-CC04519
 JOHN D WARNER JR
 Plaintiff/Petitioner:                                          Plaintiff’s/Petitioner’s Attorney/Address:
 ROGER W WALLACH                                                CHRISTOPHER ELISHA ROBERTS
                                                                SUITE 200
                                                                231 SOUTH BEMISTON AVE.
                                                         vs.    CLAYTON, MO 63105
 Defendant/Respondent:                                          Court Address:
 LOANME, INC.                                                   ST LOUIS COUNTY COURT BUILDING
 Nature of Suit:                                                105 SOUTH CENTRAL AVENUE
                                                                CLAYTON, MO 63105
 CC Other Tort                                                                                                                          (Date File Stamp)

                         Summons for Personal Service Outside the State of Missouri
                                                         (Except Attachment Action)
    The State of Missouri to: LOANME, INC.
                              Alias:
  1900 SOUTH STATE COLLEGE BLVD
  SUITE 300
  ANAHIEM, CA 92806
     COURT SEAL OF
                                     You are summoned to appear before this court and to file your pleading to the petition, copy of which is
                                attached, and to serve a copy of your pleading upon the attorney for the Plaintiff/Petitioner at the above
                                address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                     SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                               notify the Office of the Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least three
                               business days in advance of the court proceeding.
    ST. LOUIS COUNTY
                                   18-JAN-2018                                            ____________________________________________________
                                    Date                                                                             Clerk
                                 Further Information:
                                 JB
                                                    Officer’s or Server’s Affidavit of Service
     I certify that:
     1. I am authorized to serve process in civil actions within the state or territory where the above summons was served.
     2. My official title is _______________________________________ of ______________________ County, _________________ (state).
     3. I have served the above summons by: (check one)
                   delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                   leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                    _________________________________, a person of the Defendant’s/Respondent’s family over the age of 15 years.
                  (for service on a corporation) delivering a copy of the summons and a copy of the petition to
                    _____________________________________________ (name) _____________________________________________ (title).
                  other (describe) ________________________________________________________________________________________.
     Served at _____________________________________________________________________________________________________________ (address)
     in __________________________ County, ____________________ (state), on ___________________ (date) at ________________ (time).
     ____________________________________________________________             ___________________________________________________________
                  Printed Name of Sheriff or Server                                            Signature of Sheriff or Server
                                 Subscribed and Sworn To me before this ___________ (day) ______________ (month) _________ (year)
                                 I am: (check one)    the clerk of the court of which affiant is an officer.
                                                      the judge of the court of which affiant is an officer.
                                                      authorized to administer oaths in the state in which the affiant served the above summons.
           (Seal)
                                                       (use for out-of-state officer)
                                                      authorized to administer oaths. (use for court-appointed server)
                                                                                  ___________________________________________________________
                                                                                                        Signature and Title
    Service Fees, if applicable
    Summons         $___________________
    Non Est         $___________________
    Mileage         $___________________ (_______________miles @ $ _______ per mile)
    Total           $___________________
                             See the following page for directions to clerk and to officer making return on service of summons.

OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-46            1         (17SL-CC04519)                                  Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                                          506.500, 506.510 RSMo
            Case: 4:18-cv-00296-JAR Doc. #: 1-1 Filed: 02/21/18 Page: 20 of 25 PageID #: 24
                                                          Directions to Clerk

           Personal service outside the State of Missouri is permitted only upon certain conditions set forth in Rule 54. The clerk
     should insert in the summons the names of only the Defendant/Respondent or Defendants/Respondents who are to be
     personally served by the officer to whom the summons is delivered. The summons should be signed by the clerk or deputy
     clerk under the seal of the court and a copy of the summons and a copy of the petition for each Defendant/Respondent should
     be mailed along with the original summons to the officer who is to make service. The copy of the summons may be a carbon
     or other copy and should be signed and sealed in the same manner as the original but it is unnecessary to certify that the copy
     is a true copy. The copy of the motion may be a carbon or other copy and should be securely attached to the copy of the
     summons but need not be certified a true copy. If the Plaintiff’s/Petitioner has no attorney, the Plaintiff’s/Petitioner’s address
     and telephone number should be stated in the appropriate square on the summons. This form is not for use in attachment
     actions. (See Rule 54.06, 54.07 and 54.14)



                                  Directions to Officer Making Return on Service of Summons

          A copy of the summons and a copy of the motion must be served on each Defendant/Respondent. If any
     Defendant/Respondent refuses to receive the copy of the summons and motion when offered, the return shall be prepared
     accordingly so as to show the offer of the officer to deliver the summons and motion and the Defendant’s/Respondent’s refusal
     to receive the same.

          Service shall be made: (1) On Individual. On an individual, including an infant or incompetent person not having a legally
     appointed guardian, by delivering a copy of the summons and motion to the individual personally or by leaving a copy of the
     summons and motion at the individual’s dwelling house or usual place of abode with some person of the family over 15 years
     of age, or by delivering a copy of the summons and petition to an agent authorized by appointment or required by law to receive
     service of process; (2) On Guardian. On an infant or incompetent person who has a legally appointed guardian, by delivering a
     copy of the summons and motion to the guardian personally; (3) On Corporation, Partnership or Other Unincorporated
     Association. On a corporation, partnership or unincorporated association, by delivering a copy of the summons and motion to
     an officer, partner, or managing or general agent, or by leaving the copies at any business office of the Defendant/Respondent
     with the person having charge thereof or by delivering copies to its registered agent or to any other agent authorized by
     appointment or required by law to receive service of process; (4) On Public or Quasi-Public Corporation or Body. Upon a
     public, municipal, governmental or quasi-public corporation or body in the case of a county, to the mayor or city clerk or city
     attorney in the case of a city, to the chief executive officer in the case of any public, municipal, governmental, or quasi-public
     corporation or body or to any person otherwise lawfully so designated.

        Service may be made by an officer or deputy authorized by law to serve process in civil actions within the state or territory
     where such service is made.

          Service may be made in any state or territory of the United States. If served in a territory, substitute the word “territory”
     for the word “state.”

          The office making the service must swear an affidavit before the clerk, deputy clerk, or judge of the court of which the
     person is an officer or other person authorized to administer oaths. This affidavit must state the time, place, and manner of
     service, the official character of the affiant, and the affiant’s authority to serve process in civil actions within the state or
     territory where service is made.

          Service must not be made less than ten days nor more than 30 days from the date the Defendant/Respondent is to appear in
     court. The return should be made promptly and in any event so that it will reach the Missouri Court within 30 days after
     service.




OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-46      2        (17SL-CC04519)                            Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                                             506.500, 506.510 RSMo
            Case: 4:18-cv-00296-JAR Doc. #: 1-1 Filed: 02/21/18 Page: 21 of 25 PageID #: 25

                             THE CIRCUIT COURT OF ST. LOUIS COUNTY, MISSOURI

                                                    Twenty First Judicial Circuit


                          NOTICE OF ALTERNATIVE DISPUTE RESOLUTION SERVICES



 Purpose of Notice

    As a party to a lawsuit in this court, you have the right to have a judge or jury decide your case.
 However, most lawsuits are settled by the parties before a trial takes place. This is often true even
 when the parties initially believe that settlement is not possible. A settlement reduces the expense and
 inconvenience of litigation. It also eliminates any uncertainty about the results of a trial.

    Alternative dispute resolution services and procedures are available that may help the parties settle
 their lawsuit faster and at less cost. Often such services are most effective in reducing costs if used
 early in the course of a lawsuit. Your attorney can aid you in deciding whether and when such services
 would be helpful in your case.

 Your Rights and Obligations in Court Are Not Affected By This Notice

     You may decide to use an alternative dispute resolution procedure if the other parties to your case
 agree to do so. In some circumstances, a judge of this court may refer your case to an alternative
 dispute resolution procedure described below. These procedures are not a substitute for the services
 of a lawyer and consultation with a lawyer is recommended. Because you are a party to a lawsuit, you
 have obligations and deadlines which must be followed whether you use an alternative dispute
 resolution procedure or not. IF YOU HAVE BEEN SERVED WITH A PETITION, YOU MUST FILE A
 RESPONSE ON TIME TO AVOID THE RISK OF DEFAULT JUDGMENT, WHETHER OR NOT YOU
 CHOOSE TO PURSUE AN ALTERNATIVE DISPUTE RESOLUTION PROCEDURE.

 Alternative Dispute Resolution Procedures

    There are several procedures designed to help parties settle lawsuits. Most of these procedures
 involve the services of a neutral third party, often referred to as the “neutral,” who is trained in dispute
 resolution and is not partial to any party. The services are provided by individuals and organizations
 who may charge a fee for this help. Some of the recognized alternative dispute resolutions procedures
 are:

     (1) Advisory Arbitration: A procedure in which a neutral person or persons (typically one person
 or a panel of three persons) hears both sides and decides the case. The arbitrator’s decision is not
 binding and simply serves to guide the parties in trying to settle their lawsuit. An arbitration is typically
 less formal than a trial, is usually shorter, and may be conducted in a private setting at a time mutually
 agreeable to the parties. The parties, by agreement, may select the arbitrator(s) and determine the
 rules under which the arbitration will be conducted.

    (2) Mediation: A process in which a neutral third party facilitates communication between the
 parties to promote settlement. An effective mediator may offer solutions that have not been considered
 by the parties or their lawyers. A mediator may not impose his or her own judgment on the issues for
 that of the parties.
 CCADM73
OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-46   3     (17SL-CC04519)      Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
            Case: 4:18-cv-00296-JAR Doc. #: 1-1 Filed: 02/21/18 Page: 22 of 25 PageID #: 26


   (3) Early Neutral Evaluation (“ENE”): A process designed to bring the parties to the litigation and their
counsel together in the early pretrial period to present case summaries before and receive a non-binding
assessment from an experienced neutral evaluator. The objective is to promote early and meaningful
communication concerning disputes, enabling parties to plan their cases effectively and assess realistically
the relative strengths and weaknesses of their positions. While this confidential environment provides an
opportunity to negotiate a resolution, immediate settlement is not the primary purpose of this process.

    (4) Mini-Trial: A process in which each party and their counsel present their case before a selected
representative for each party and a neutral third party, to define the issues and develop a basis for realistic
settlement negotiations. The neutral third party may issue an advisory opinion regarding the merits of the
case. The advisory opinion is not binding.

    (5) Summary Jury Trial: A summary jury trial is a non binding, informal settlement process in which
jurors hear abbreviated case presentations. A judge or neutral presides over the hearing, but there are no
witnesses and the rules of evidence are relaxed. After the “trial”, the jurors retire to deliberate and then
deliver an advisory verdict. The verdict then becomes the starting point for settlement negotiations among
the parties.

Selecting an Alternative Dispute Resolution Procedure and a Neutral

    If the parties agree to use an alternative dispute resolution procedure, they must decide what type of
procedure to use and the identity of the neutral. As a public service, the St. Louis County Circuit Clerk
maintains a list of persons who are available to serve as neutrals. The list contains the names of
individuals who have met qualifications established by the Missouri Supreme Court and have asked to be
on the list. The Circuit Clerk also has Neutral Qualifications Forms on file. These forms have been
submitted by the neutrals on the list and provide information on their background and expertise. They also
indicate the types of alternative dispute resolution services each neutral provides.

  A copy of the list may be obtained by request in person and in writing to: Circuit Clerk, Office of Dispute
Resolution Services, 7900 Carondelet Avenue, 5th Floor, Clayton, Missouri 63105. The Neutral
Qualifications Forms will also be made available for inspection upon request to the Circuit Clerk.

   The List and Neutral Qualification Forms are provided only as a convenience to the parties in selecting
a neutral. The court cannot advise you on legal matters and can only provide you with the List and Forms.
You should ask your lawyer for further information.




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OSCA (7-04) SM60 For Court Use Only: Document ID# 18-SMOS-46   4   (17SL-CC04519)        Rules 54.06, 54.07, 54.14, 54.20;
                                                                                                 506.500, 506.510 RSMo
     Case: 4:18-cv-00296-JAR Doc. #: 1-1 Filed: 02/21/18 Page: 23 of 25 PageID #: 27




  SPS APPROVED
  JANUARY 24, 2018
/s/Gwendolyn Bailey
                                                                                                                                                                                                                              Electronically Filed - St Louis County - February 09, 2018 - 11:10 AM
                              Case: 4:18-cv-00296-JAR Doc. #: 1-1 Filed: 02/21/18 Page: 24 of 25 PageID #: 28

                                 IN THE 2lST.IUDICIAI, CIRCIJIT COURT, ST. LOUIS COUNTY, MISSOURI

  .Iudge or Division:                                                                                               Case   Number: ITSL-CC04519
  JOHN D WARNERJR
  P   1   aint i fflP etiti       o   ner    :                                                                      Plaintiff s/Petitioner'
                                                                                                                                      s Attorney/Address                :



  ROGER W WA[,L,AC[{                                                                                                C}{RTSTOPFIER EI.ISHA ROBERTS
                                                                                                                    SIJITIJ   2OO
                                                                                                                    231 SOTJTI{ BEI\4ISTON AVE.
                                                                                                          YS.       CI-AYTON, MO           63 105

  DefendantlRespondent                                   :                                                          Court Address:
  [,OANI\4E, INC.                                                                                                   ST LOUIS COLINTY COURT BUILDING
                                                                                                                    IO5 SOUTH CENJ'ITAI, AVENIJE
  Nature of Suit:
                                                                                                                    CLAYTON, I\{O          63 I 05
  CC Other Tort                                                                                                                                                                                  (Date File Stamp)

                                                         Summons for Personal Service Outside the State of Missouri
                                                                                                          (Except Attachment Action)
           The State of Missouri to: LOANME,INC.
                                     Alias:
      19OO SOUTH STATE COI.LE GE BLVD
      SUITE 3O()
  AIYAI{IEM, CA 92806
                                                                                  You are summoned to appear before this court and to file your pleading to the petition, copy of which is
             COURT SEAL OF
                                                                             attached, and to serve a copy ofyour pleading upon the attorney for the Plaintiff/Petitioner at the above
                                                                             address all within 30 days after service of this summons upon you, exclusive of the day of service. If you fail to
                                                                             file your pleading, judgment by default will be taken against you for the relief demanded in this action.
                                                                                  SPECIAL NEEDS: If you have special needs addressed by the Americans With Disabilities Act, please
                                                                           notify the Office ofthe Circuit Clerk at 314-615-8029, FAX 314-615-8739 or TTY at 314-615-4567, at least three
                                                                           business days in advance ofthe court proceeding.
           ST. T,OTILS COTINTY

                                                                                   r&JANr2O18
                                                                                    Date
                                                                                  Further Information:
                                                                                  JB
                                                                  Officer's or Server's Affidavit of Service
            I certify that:
            l. I am authorized
                           thori       to serve Drocess in civil actions within the state or territory where the above summons was seryed
            2.
            -.
                 Mvltl,
                          J
                                 title ir _Bgglslgled
                 My official tirle
                              Va^aVIEa           9aWaV   is
                                            Reqistered Process
                                                         .v            '   ----                            CI Server        County,  of Oranqe
                                                                                                                                    Calil
                                                                                                                            Countv,_Qalilqr_n ia                                                           (state).
            3. I have served the above summons by: (check one)---Y--


                          !         delivering a copy of the summons and a copy of the petition to the Defendant/Respondent.
                          !         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the Defendant/Respondent with
                                                                            , a person of the Defbndant's/Respondent's tamily over the age of l5 years
                          ffi      ltorserviceonacorporation)deliveringacopyofthesulnmonsandacopyofthepetitionto
                                      __Dgisv Montengro. Proc                                                                  .(name)   Ct Corporation        Syqtems                                    (tltt.).
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            Served        at ilt h8'rcJry.                                 . Slre eLSuife-93Q-b$-                   A n g p les..-eA-9 0811
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                Los Angeles
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                                                                                           county,                               ?rt t.)r,n--.I
                                                                                                                                 (state), on
                 rehardEEiF-
                 RiEmrf,Steib?
                                         ililGdName of Sheriff or serret
                                                                                                -g-glll9lllg
                                                                                                                                    -/ '   ,
                                                                                                                                                                   bf Sheriff or Server

                                                                                  Subscribed and                                                                                (month)   *2!lL    _   $ear)
                                                                                  I am: (check one
                                                                                                         tr   thejudge of the court of which affiant is an officer.

                     (Seal)                                                                              tl[authorized to administer oaths in the state in which the affiant served the above summons.
                                                                                                              (use for out-of-state officer)
                                                                                                         tr authorized to administer oaths. (use for court-appointed server)
                                                                                                                                                     ----   / "/    Sienature and Title
          Service Fees, if applicable
           Summons                       $ 65.00
          Non Est                        $_0 00
          Ir{ileage                      $-                                                    (-                     rniles @   $             per mile)
          Total                          $
                                                               See the              following page for directions to clerk and to oflicer makinq return on service ofsummons.

OSCA (7-04) SM60 For Court Use Only'. Document                                                  ID#   18-SMOS-46 I                   (I7SL-CC04519)                                       Rules 54.06, 54.07. 54.14. 54.20;
                                                                                                                                                                                                  s06.500,506.510 RSMo
                                                                                                                                                                               Electronically Filed - St Louis County - February 09, 2018 - 11:10 AM
                 Case: 4:18-cv-00296-JAR Doc. #: 1-1 Filed: 02/21/18 Page: 25 of 25 PageID #: 29



                                                                             JURAT

                A notary public or other officer completing this certificate verifies only the identity of
                the individual who signed the document to which this certificate is attached, and not
                the truthfulness, accuracy, or validity of that document.

                State of California

                County of                         Orange


                Subscribed and sworn to (or affirmed) before me on                                   this      il\     day     ot E     i'rr rnf                     .,


                zo   J7 ov                       fq'u4^.J                ib           Lon                                                                           _t



                proved to me on the basis of satisfactory evidence to be the person(s) who appeared
                before me.




                Signature                                                (Seal)




                        OPTIONAL INFORMATION                                                                     INSTRUCTIONS
                                                                                  The wording of all Jurats completed in California after January 1 , 2015 must be in the
                                                                                  form as set forth within this Jurat. There are no exceptions. lf a Jurat to be completed
                                                                                  does not follow this form, the notary must correct the verbiage by using a jurat stamp
                                                                                  containing the correct wording or attaching a separate jurat form such as fhrs one with
                                                                                  does contain the proper wording, ln addition, the notary must require an oath or
                 DESCRIPTION OF THE ATTACHED DOCUMENT                             affirmation from the document signer regarding the truthfulness of the contents of the
                                                                                  document. The document must be signed AFTER the oath or affirmation. lf the document
                                                                                  was previously signed, it must be re-signed in front of the notary public during the jurat
                 (Title or description of attached document)                      process.
                                                                                  .   State and county information must be the state and county where the
                                                                                      document signer(s) personally appeared before the notary public.
                 (Title or description of attached document continued)
                                                                                  .   Date of notarization must be the date the signer(s) personally
                                                                                      appeared which must also be the same date the jurat process is
                                                                                      completed.
                 Number of Pages          _      Document Date                    .   Print the name(s) of the document signer(s) who personally appear at
                                                                                      the time of notarization.
                                                                                  .   Signature of the notary public must match the signature on file with the
                 Additional information                                               office of the county clerk.
                                                                                  .   The notary seal impression must be clear and photographically
                                                                                      reproducible. lmpression must not cover text or lines. lf seal impression
                                                                                      smudges, re-seal if a sufficient area permits, othenruise complete a
                                                                                      different jurat form.
                                                                                                    *   Additional information ls not required but could help
                                                                                                        to ensure this jurat is not misused or attached to a
                                                                                                        different document.
t
                                                                                                    *   lndicate title or type of attached document, number of
1



1
                                                                                                        pages and date.
I
I
t
                                                                                  .   Securely attach this document to the signed document with a staple.
1.__"_   _._.
